Case 6:15-bk-O7397-CC.] Doc 345 Filed 09/30/16 Page 1 of 55

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
WWW.{]mb.uscourts.gov

 

In re: CASE NO. 6:15-bk-07397-CCJ
BUNKERS INTERNATIONAL CORP, CHAPTER 11
Debtor. Jointly-administered1

/

 

OBJECTION OF LIQUIDATING AGENT OF BUNKERS INTERNATIONAL
CORP. TO ALLOWANCE OF CLAIM 51 OF VAN-OIL PETROLEUM LTD.

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court Will consider this objection without further
notice of hearing unless a party in interest iles a response Within thirty (3 0) days from the date
set forth on the proof of service attached to this paper, plus three (3) days for mailing. If you
object to the relief requested in this paper, you must file your objection With the Clerk of the
Court at 400 W. Washington Ave, Suite 5100, Orlando, Florida 32801, and serve a copy on the
Liquidating Agent’s attorney, R. Scott Shuker, Esq., Latham, Shuker, Eden & Beaudine, LLP,
111 N. Magnolia Avenue, Suite 1400, Orlando, Florida 32801.

lf you file and serve a response Within the time permitted, the Court Will hold a
preliminary, nonevidentiary hearing on the response If you do not file a response Within the
time permitted, the Court Will consider that you do not oppose the granting of the relief requested
in the objection, Will proceed to consider the objection Without further notice of hearing, and
may grant the relief requested

 

ROBERT MORRISON, Liquidating Agent for BUNKERS lNTERNATlONAL CORP.,
(the "Liquidating Debtor"), by and through his undersigned counsel, and pursuant to 11
U.S.C. §§502, 547, and 550 of the United States Bankruptcy Code, (the “Bankruptcy Code”),
Local Rule 2002-4, and Federal Rules of Bankruptcy Procedure 3007 and 9014, (the

“Banl<ruptcy Rules”), hereby submits this Objection (the “Objection”) to Claim 51 (“Claim”)

 

1 Jointly-administered cases: Bunkers International, Corp., Case 6:15-bk-7397-CCJ; Atlantic Gulf Bunkering, LLC,
Case 6:15-bk-7402-CCJ; Dolphin Marine Fuels, LLC, Case 6:15-bk-7404-CCJ (collectively, the “Debtors”)

 

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submitted by, or on behalf of, Van-Oil Petroleum Ltd. (“Van-Oil”) which has been filed in the
above-referenced case, and for the reasons set forth below, seeks entry of an order disallowing
the Claim; and, in support thereof, states as follows:
I. JURISDICTION

1. This Court has jurisdiction over the Objection pursuant to 28 U.S.C. § 1334 and
11 U.S.C. §§ 502, 547, and 550.

2. This matter is a core proceeding over which this Court has jurisdiction pursuant to
28 U.S.C. § 157(b) and is a contested matter govemed by Federal Rules of Bankruptcy
Procedure 3007 and 9014. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and
1409.

II. PROCEDURAL AND FACTUAL HISTORY

3. On August 28, 2015 (the “Petition Date”), the Debtors filed their voluntary
petition for reorganization under Chapter 11 of the Code. Thereafter, on September 9, 2015, the
Court entered an order jointly administering the Debtors under Bunkers Intemational Corp, Case
No. 6:15-bk-7397-CCJ (Doc No. 33).

4. On February 9, 2016, the Court entered the order confirming the Plan of

Liquidation, as Modified (“Plan”) of the above Liquidating Debtor (“Confirmation Order”) (Doc

NO. 274).
5. The Confirmation Order designated Robert Morrison as the Liquidating Agent.
6. Prior to the Petition Date, the Liquidating Debtor made payments to Van-Oil in

the amount of $3,250,000.00 (the “Transfers”). Upon review of the books and records of the
Liquidating Debtor, the Liquidating Agent sent a letter to Van-Oil demanding the return of the

Transfers; however, as of the date of the filing of this Objection, Van-Oil has not paid the

2

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amount demanded by the Liquidating Agent. Liquidating Agent’s Demand Letter is attached
hereto as Exhibit A.

7. Van-Oil filed a general unsecured claim in the amount of $51,343.90. Van-Oil’s
proof of claim is designated as Claim No. 51 in the Bankruptcy Case, a copy of which is attached
as Exhibit B.

III. THE CLAIM OB.]ECTION

8. Pursuant to 11 U.S.C. § 502(d) of the Bankruptcy Code, unless an entity or
transferee receiving a payment that is avoidable under § 547 of the Banl<ruptcy Code has paid the
amount for which such entity or transferee is liable under § 550 of the Banl<ruptcy Code, any
claim of such entity or transferee shall be disallowed

9. Van-Oil has not paid or surrendered the Transfers to the Liquidating Agent.
Therefore, the Claim, and any other claims or amendments thereto which Van-Oil has filed in
this case, must be disallowed

10. Objections to claims are governed by 11 U.S.C. §502(a), which provides that “[a]
claim or interest, proof of which is filed under section 501 of this title, is deemed allowed; unless
a party in interest. . .objects.” Section 502(b) provides that “if such objection to a claim is made,
the court, after notice and a hearing, shall determine the amount of such claim in lawful currency
of the United States as of the date of the filing of the petition, and shall allow such claim in such
amount....”

11. Banl<ruptcy Rule 3001(f) provides that a proof of claim executed and filed in the
accordance with the Bankruptcy Rules “shall constitute prima facie evidence of the validity and
amount of the claim.” The burden of proof is on the objecting party to produce evidence

equivalent in probative value to that of the creditor to rebut the prima facie effect of the proof of

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claim. However, “the ultimate burden of persuasion is always on the claimant.” In re Holm, 931
F.2d 620, 623 (ch Cir. 1991) (citing 3 L. King, CoLLiER oN BANKRUPTCY §502.02, at 502-22
(15th ed. 1991) (footnotes omitted)); see also In re Leatherland Corp. 302 B.R. 250, 259 (Bankr.
N.D Ohio 2003). A properly supported objection to a claim initiates a contested matter under the
Bankruptcy Rules. See Fed. R. Bankr. P. 3007 (adv. comm. note).

12. The Liquidating Agent expressly reserves the right to supplement this Objection
on any other grounds not stated in this Objection.

WHEREFORE, the Liquidating Agent respectfully requests the Court enter an order:
(a) disallowing in its entirety the Claim 51 of Van-Oil; and (b) granting such additional relief as
the Court deems just and proper under the circumstances

RESPECTFULLY SUBMITTED this 30th day of September 2016.

/s/ Mariane L. Dorris

 

R. Scott Shuker, Esq.

Florida Bar No. 984469
rshuker@lseblaw.com

Mariane L. Dorris, Esq.

Florida Bar No. 0173665
mdorris@lseblaw.com

Daniel A. Velasquez, Esq.

Florida Bar No. 0098158
dvelasquez@lseblaw.com
Latham, Shuker, Eden & Beaudine, LLP
111 N. Magnolia Ave., Suite 1400
Orlando, Florida 32801
Telephone: (407) 481-5 800
Facsimile: (407) 48 1 -5 801

bknoticel @lseblaw.com
Attorneysfor the Liquidating Agent

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
www.flmb.uscourts.gov

 

In re: CASE NO. 6:15-bk~07397-CCJ
BUNKERS INTERNATIONAL CORP, CHAPTER 11
Debtor. Jointly-administered
/
CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true copy of the OBJECTION OF LIQUIDATING
AGENT OF BUNKERS INTERNATIONAL CORP. TO ALLOWANCE OF CLAIM 51
OF VAN-OIL PETROLEUM LTD., together with all exhibits, has been furnished by
electronic transmission and/or U.S. First Class mail, postage prepaid, to: Van-Oil Petroleum
Ltd., c/o Militiadis Papangelis, Attomey, V&P Law Firm 61-65 Filonos Street, Paraeus, Greece
16672 (as set forth on the Proof of Claim); Van-Oil Petroleum Ltd, 444 Jiron lndepencia, Callo,
Peru; Van-Oil, 244 Fifth Avenue, Suite 2410, New York, NY 10001; Van-Oil Petroleum Ltd.,
Akara Bldg., 24 de Castro Street, Wickhams Cay 1, Tortola VG1110, BVI; and the U.S. Trustee,

400 W. Washiiigton Ave., Orlando, Florida 32801, this 30th day of September 2016.

/s/ Mariane L. Dorris

 

Mariane L. Dorris, Esq.

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LATHAM, SHUKER, EDEN & BEAUDINE, LLP

 

ATTORNEYS AT LAW

M.'CHAi-:L J. BEAUD\NF. losHuA D. GROSSHANS
Cer)Y CAMPBELL 1 ll NORTH MAGNOLLA AVENUE, SUITE 1400 BRucE D. KNAPP
MchAEL G. CANDIOTH ORLAN'DO, FLOR[DA 32801 PErER G, LAi'HAM
JAN ALBANESE CARPENTER pOST OFF1CE BOX 3353 11UST$ x LuNA
DANIEL H. Coui:ruFF OR_LAND FLORIDA 32802 ..oRi . li.vArN
ANDREW C. D’ADESKY TELEPHO?`]’E_ (407) 481_5800 * R. ScoTr SH‘JKER
MAiu/\NE L. Dolmls _ ' JONATHAN A. ST!MLER
JENNli-‘ERS. EDEN FACS]MILE' (407) 481'580] CHR.'sTINA Y. TAYLOR
DoRoTHv F. GREEN WMU DAN:EL A. VF.LAsQuU
' BoAs.:) ci-;Rririai) DmF.cT DlAL: (407) 481-5849

Busmess namich /moRNEY June 7, 20 1 6 EM,\:L; MDonRis@LsEBLAw.coM

Via lntemational iMail

VAN-OIL PETROLEUM LTD

AKARA BLDG., 24 DE CASTRO STREET
WICKHAMS CAY 1

TORTOLA VGl l 10

BRITISH VIRGIN ISLANDS

RE: PREFERENCE DEMANI) iN THE ToTAL AMoUNT 0F $3,250,000.00
IN RE: BUNKERS INTERNATioNAL CoRP., CASE No. 6:15-BK-07397~CCJ

Dear President/General Manager:

The undersigned represents Robert Morrison, the Liquidating Agent for BUNKERS
lNTERNATIONAL CORP (“BIC”), and its affiliated and related entities, ATLANTIC GULF
BUNKERTNG, LLC (“AGB”), and DOLPHIN MARINE FUELS, LLC (“DMF”), which are
jointly-administered debtors and debtors-in-possession (collectively, the "Debtors").

As you may know, on August 28, 2015 (the "Petition Date"), the Debtors filed petitions
for relief pursuant to chapter 11 of the Bankruptcy Code. On February 9, 2016, the Court
confirmed the Debtors’ Joint Plan of Liquidation (“Confirmation Order”). Pursuant to the
Confirmation Order, Robert Morrison (“Morrison”) Was appointed the Liquidating Agent for the
Debtors. Pursuant to sections 547 and 550 of the Bankruptcy Code, 11 U.S.C. §§ 547 and 550
and subject to certain defenses, transfers of the Debtors’ property to or for the benefit of a
creditor, for or on account of an antecedent debt, while the Debtors were insolvent, during the
ninety-day period preceding the Petition Date (i.e. May 30, 2015, through August 28, 2015, the
"Preference Period") and Which enables that creditor to receive more than it Would have in a
chapter 7 bankruptcy case, is avoidable and recoverable

BIC's records indicate that you received payments totaling $3,250,000.00 (the
”Preferential Transfers") from BIC during the Preference Period that appear to be recoverable by
BIC. These Preferential Transfers will then be returned to the BIC's bankruptcy estate and
distributed to creditors pursuant to the Bankruptcy Code.

EXH|B|T “A”

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LATHAM, SI~rUKER, EDEN & BEAUD!NE, LLP
Junc 7, 2016
Page 2

Morrison is preparing to initiate lawsuits to recover any avoidable transfers, including the
Preferential Transfers. In order to avoid any adverse legal action against you based on the
Preferential Transfers, Morrison hereby demands the return of all of the Preferential Transfers
you received from BIC during the Preference Period within 30 days of your receipt of this letter.
Checks should be made payable to Bunkers International Corp. and mailed to the address
provided in the letterhead Failure to pay in full the Preferential Transfers received from BIC,
may cause prejudgment interest to be added to the balance of the claim from the date of this
demand letter.

We have sent this letter directly to you, because no attorney has entered an appearance on
your behalf in the Debtors’ bankruptcy cases. If you have any questions or believe that you have
any relevant defenses to an action to recover the Preferential Transfers, please contact the
undersigned at (407) 48 1-5 849 or via e-mail at mdorris@lseblaw.com.

Very truly yours,

LATHAM, SHUKER, EDEN & BEAUDINE, LLP

iii .5 \'§\/ /¢D 5'*-.,»#~

Mariane L. Dorris
MLD/mn

cc: Robert Morrison, Liquidating Agent

Case 6:15
Case 6:15

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b -07397-CCJ Claim 51-2 Filed 12/11/15 Page 1 0 3

 

Fill in this information to identify the case:

Debtor 1

Bunkers international Corp.

F|LED

 

Debtor 2

U.S. Bankruptcy Court
Middle District of FL

 

(Spouse, if filing)

12/1l/2015

United States Bankruptcy Court for the: Middle District of Florida

(State) Lee Ann Bennett, Clerk

Case number: 6:15-bk-07397-CCJ

 

Official Form 410
Proof of Claim

12/15

 

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Fi|ers must leave out or redact information that is entitled to privacy on this form or on any attached documents Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements Do not send original documents; they may be destroyed after scanning. lf the documents are not available,

explain in an attachmentl

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fi|l in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

identify the Claim

creditor?

1.Who is the current van-oil Petroleum Ltd.

 

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

 

 

2.Has this claim been No

 

 

 

acquired from l; Yes. From whom?
someone else?
3_Where should notices Where should notices to the creditor be sent? §Vftf\ere s)hould payments to the creditor be sent? (lf
and a ments to the ' ' ' e'em '
credso¥ be sent? Van*Oil Petroleum Ltd.
Federal Rule of Name _ Name _
Bankruptcy Procedure V&P LHW Fll`ln VBH'_OI] PCtIOiCUm, Ltd.
(FRBP) 2002(9) 61-65 Filonos Street 444 Jiron Independencia
Piraeus, Greece, FL 16672 Callo, Peru, FL 01
Contact phone §§210-41§-§407 Contact phone §1 1-199-7§7_§§§§
Contact email mg§Q§ng§li§§@VQ|§W.gr Contact email g§gu§§@V§n-gll.ggm

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

 

 

 

else has filed a proof lT
of claim for this claim?

 

4.Does this claim amend _i No
One already filed? Yes. Claim number on court claims registry (if known) 51 Filed on 12/1 1/20]5
MM / DD /YYYY
5.Do you know if anyone No

Yes. Who made the earlier flling?

 

 

 

Otficial Form 410

Proof of Claim page 1

EXH|BIT “B”

 

 

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Case 6:15-bk-O7397-CCJ Claim 51-2 Filed 12/11/15 Page 2 of 3
Give |nformation About the Claim as of the Date the Case Was Filed
6.Do you have any No
number you USE 110 |'; Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
identify the debtor?
7_How much is the $ 51343_90 Does this amount include interest or other charges?

claim?

l:No

 

Yes. Attach statement itemizing interest, fees, expenses, or
other charges required by Bankruptcy Rule 3001(0)(2)(A).

 

.What is the basis of
the claim?

Examp|es: Goods sold, money loaned, lease, services performed, personal injury or wrongful
death, or credit card. Attach redacted copies of any documents supporting the claim required by
Bankruptcy Rule 3001 (c).

Limit disclosing information that is entitled to privacy, such as healthcare information

Goods Sold-Fuel to MV BRO NORDBY

 

 

9. ls all or part of the
claim secured?

No
I? Yes. The claim is secured by a lien on property.
Nature of property:
F°‘ Real estate. lf the claim is secured by the debtor's principal residence, file a Mortgage

Proof of Claim Attachment (Official Form 41 O-A) With this Proof of C/aim.
I" l\/lotor vehicle

ij Other. Describe:

 

Basis for perfection:

 

Attach redacted copies of documents, if any, that show evidence of perfection of a security
interest (for example, a mortgage, lien, certificate of title, financing statement or other
document that shows the lien has been filed or recorded.)

Value of property: $

Amount of the claim that is $

secured:

Amount of the claim that is $ (The sum of the secured and
unsecured: _unsecured amounts should

match the amount in line 7.)

Amount necessary to cure any default as of the $
date of the petition:

 

a lease?

Annual |nterest Rate (when case was filed) %
f` Fixed
\" Variable

10.ls this claim based on No

ii Yes. Amount necessary to cure any default as of the date of the petition. $

 

11.ls this claim subject to
a right of setoff?

 

No
i" Yes. ldentify the property:

 

 

Official Form 410

Proof of Claim page 2

 

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7-CC.] C_ 345 Filed 09/
age3 of 3

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-CCJ Caim51-2 Fdile132/111/15

 

12_ls all or part of the claim
entitled to priority under
11 U.S.C. 6 507(al?

No
lT- Yes. Check all that app/y:

Amount entitled to priority

 

A claim may be partly
priority and partly
nonpriority. For examp|e,
in some categories the
lawl imits the amount

ifr Domestic support obligations (including alimony and child support) $
under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).

Up to $2,775* of deposits toward purchase, lease, or rental of 3
property or services for personal, family, or household use. 11

entitled to priority.

 

U.S.C. § 507(a)(7).
l.“i Wages, salaries, or commissions (up to $12,475*) earned within $
180 days before the bankruptcy petition is filed or the
debtor&rsquo;s business ends, whichever is earlier. 11 U.S.C. §
507(a)(4).
Taxes or penalties owed to governmental units. 11 U.S.C. § $
507(a)(8).

FI Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

:l

iii Other. Specify subsection of 11 U.S.C. § 507(a)() that applies $

* Amounts are subject to adjustment on 4/1/16 and every 3 years after that for cases begun on or after the date
of adjustment

 

Sign Below

 

The person completing
this proof of claim must
sign and date it. FRBP
9011(b).

|f you file this claim
electronically FRBP

5005(a )(2) authorizes courts
to establish local rules
specifying what a signature
rs.

A person who files a
fraudulent claim could be
fined up to $500,000,
imprisoned for up to 5
years, or both.

18 U.S.C. §§ 152, 157 and
3571.

 

Check the appropriate box:

i' l am the creditor.

l arn the creditor‘s attorney or authorized agentl

F= l am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
i`i | am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

l understand that an authorized signature on this Proof of Claim serves as an acknowledgment that When calculating
the
amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

l have examined the information in this Proof of Claim and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on date 12/11/2015

N|M/DD/YYYY

Militiadis Papangelis

 

Signature

Print the name of the person who is completing and signing this clalm:

 

 

 

 

Name Miiiriadrs Papangeirs
First name l\/|iddle name Last name

Title Attorney

COmrJany v&P Law Firm
identify the corporate servicer as the company if the authorized agent is
a servicer

AddreSS 61-65 Filonos street

 

Number Street
Piraeus, Greece 16672

 

City State ZlP Code

Contact phone +30-210~413-5407 Ema" mpapangelis@vplaw.gr

 

 

Official Form 410

Proof of Claim page 3

 

 

to
van-orr

 

iNVOlCE 5910

 

To:

BRO NORDBY

AND/OR HER GWNERSIOPERATORS AND
BUNKERS lNTERNAT|ONAL CORP.
1071 S SUN DRlVE, SUITE 3

LAKE MARY,FLOR!DA 32746

!§A

 

Vessel '. BRO NORDBY

Port: CALLAG

Delivery Date: .luiy 6, 2015
Our OrderRete:en 5910

11/15

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7397-ch claim 51-2 Parr'|zed giige/ti"(:i/zl/6 Pa 9 11 Of 552

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Product andtor Services Oty/unit

lFO 380 CST RMG 380 SULPHUR MAX. 3.5% 100.359
Poilution- Fee
Extra Charges t Barge l.mp Sum . Others)

USDf Unit

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7,000.00

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600 00
7r000.00

 

total Mount Due jr
Payment due Latest: August 5, 2016

Bank instructions

Van"Oii Petroleum Ltd

Helm Bank‘ 999 Brickell Avenue, tv'tiami. Fl 33131
ABA: 067011456

Account:

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trading

Jr. lnciepcndencirr N° 444 C:\llau-l’eru Plrone (511)4200333

VAN-OIL

`BUNKER DE-LI'VERY RECE]PT ~ RECIBO BUNKER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DATE. JuLv, 06 , 2015 CALLAO pORT BARGE 5910
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iMoNull/laERZ Oj z 21 11 7_
PRoDuCT BARRELS so° GALLONS 60" METRICS TONS
IFO 380 655 27,510 100.359
PROPERT!ES
viewed j .
ESPEC\F 'rv
. . l Avr oener TEMP r se Pol.=R vrArEF suLPHuR

fitzgng g§];`g_, Ar so=r M trac oF L=t<`; °F 'u-,l.'trr.t sr.M/M DATE T‘ME
BARGE ALoNGerE oh /o'-i 03.‘05

0.9659 349.5 15 o 0.9653 62.0 0.10 1.49 % , .
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Fi~lsrieo nominee fm mesa
Hos:- .
DiscoNNEc‘rEo 011/473 flaw
EARGEAWAY crafv? 095/t

 

i. the undersigned (deliverirrg ocmpany) declare that the fuel air is in conformity with regulation 14 (1) or 4 {aj and regulation
18 (1) ot MARPOL annex Vi

 

The marine .'ueri described herein is delivered in accordance with Oiltradiriq SAC Siandard terms and Carrcl‘rtions of sale ( a copy or which has men
provided iu buyer priorto delivery) and orr credit ot the vesset. Ar\y disclaimers us to tire creation or a maritime lien in the amount of the purchase price arici
delivery charges andfor resiriciions as to thsnulhurity ot the sirip's cfftcr.-r signing this Reualpl to bind the vessel and her owner roche above are nrril

and void. unless an authorized represenlatlve ot Oiitradlng SAC shall have otherwise agreed in writing atthe time Buyer im'rlzrlly orders the marine tuei.

Faiing such agroamom. delivery strait under no circumstances constitute a waiverby Gi|irading SAC of inn above
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111 .\ /\.

REMAF¢KS :
A

BARGE SAMPLE (SUPPLIER) :

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sEAL# FDrZZVZ - SOJKELJB
sr-:Ai_reBiSz-Mt:.r¢_\._t¢/j.wrzrgw teams

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ames ANNE>< vi sAMPLE:

 

DECLARAT|ON OF MASTERICHIEF ENG.|NEER

ida¢;iarrr that the information given above is true and correct to the best of my
Knawtedgei and bellei‘. that i travis knowledge ot the tools set torth herein; thai
the articles described in this notice ot iadan were received in the quantities

 

GAUGES WlTNESSED BY SHlP‘S REPRESENTAT|VE

 

  

 

stated lrom the persori. and on the date indicated above; that said articles
m BEFORE m AFTER m DEC["NED were laden on the vessel named above for use on said vessel as supplies
except as noted beicm,
,,,, ..R:x;,q|ved for use as bunkers, together with rep.rrss»nniarivr‘sl sample that
DEL|VER\NG COMPANV l O"_ TRAD|NG S€./C,/ §::;1°; er n above Exa:tr mines shown are subject 10 correction ln
m z \\ MA l:R/c E b 26 l“v'\

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Generai Terms and Condiiions

 

 

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Genera| Terms and Conditions

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Genera| Terms and Conditions

‘i. Definitions

Afflliate(s) means, in relation to either of the parties to the Agreement,
any company controlling controlled by, or under common control with
that party, whether directly or indirectiy.

Agreement means these terms and conditions including any applicable
special provisions.

AP| means American Petroleum institute

Associated company means any company which is a subsidiary of any ot
the parties to the Agreement, or a company of Which a party is a
subsidiary, or a company which is another subsidiary of a company of
which a party is a subsidiary

A$TM means American Society for Testing and Materia|s.

Banking day means a day when the banks in the specified place are
open for the transaction of normal banking business.

Business hours means 09:30 to i7:30 in Madrid, 09:30 to i7:30 in Buenos
Aires, 09:00 to 18:00 in Rio de Janeiro and 09:00 to 18:00 in Lima
(whichever is applicabie).

De|ivery Document means the document(s) that certifies the delivery ot
Marine Fuel(s) on a certain date(s], specifying grade(si and delivered
amount(s). Depending on delivery iocation, such document may also be
known as “On Board Receipt", “Buni<er Receipt", “Deiivery Note".
"Certificate of Deiivered Quantity", or other names.

ETA means the vesse|’s Estimated Time of Arriva|.

Marine Fue| means any commercial grade of bunker fuel oil and/or
marine gas oil or their mixtures offered at the time and place of delivery
by the Sei|er according to local specifications

 

 

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Generai Ten'ns and Conditions

Nomination means the document through which the Buyer requests from
the Sei|er a specific Marine Fue|s delivery for a specific vessel in a specific
bunkering port/area, and with other specific conditions or restrictionsl
including but not limited to dates.

Se|ler’s Supp|iers means any corporate body or person being a direct or
indirect source of supply for the Se||er.

Spec|al Frovisions means the terms stated by one party and confirmed by
the other in a telex, facsimiie, e-mail, or any other form of written
communicationl by Which the parties may amend or supplement these
general terms and conditions contained in the Agreement.

Working days means normal working days in the city where the Se|ler’s
office from which the sale has been agreed is located, or in the city
where the delivery is to be made. whichever is applicabie. A full working
day means a total ot 8 hours of one normal working day, or a period of 8
hours over two successive Wori<ing days.

 

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General Terms and Conditions

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Unless otherwise expressly agreed in writing, these General Terms
and Conditions shall apply to each and every sale of Marine Fue|s
as defined herein by or on behalf of VAN~O|L, its associated
companies or Affiliates i"$ei|er“) into which they are incorporated
by reference

To the extent that these General Terms and Conditions are not
supplemented by Specia| Provisions, as defined herein, incoterms
2000 shall apply as supplementary provisions in case of confiict,
ambiguity or inconsistency between the provisions of these General
Terms and Conditions and lncoterms 2000 (and subsequent
revisions), the provisions of these General Terms and Conditions shall
prevail

The Agreement, dehneoi herein as these General Terms and
Conditions together with any Speciai Provisions, contains the entire
agreement between the Se||er and the Buyer and supersedes all
representations prior agreements oral or Written, in connection
with the matters which are the subject of the Agreement. The
Buyer and the $e||er each warrant that it has not in connection with
the Agreement relied upon any representations written or ora|,
made by or on behalf of the other party, but has relied exclusively
on its own knowledgel judgment and expertise

The Agreement shall apply from the time of the Se|ler's written
confirmation

 

 

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General Terms and Conditions

 

3. Titie and Risk

3.i Deiivery of the Marine Fueis shall be deemed completed and title
and risk shall pass to the Buyer when the Marine Fuel passes the 11
flange connecting the delivery facilities provided by Supp|ier with

the receiving facilities provided by the Buyer. At that point the l,_§
Seller’s responsibility for the Marine Fuels shall cease, and the Buyer if
shall assume all risk of loss or damage including but not limited to l31
deterioration or evaporation of the Marine Fuels delivered l";

3.2 Any loss of or damage to the Marine Fue|s during bunkering i;§
operation, or any consequences of oil poliution, or any l
environmental damage or contamination of the seawater, if lie
caused by the receiving facilities and receiving vessel or its officers
or crew, shall be for the account of the Buyer. l'

3.3 The Buyer shall indemnify the Seller for any claim made against the
Seller in respect of damage alleged by any third party to have
been caused by the Buyer's vesse|.

 

 

 

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General Terms and Conditions

4. Delivery Schedu|e

4.i Vessels, including tankers, will be bunkered in turn as promptly as
possible, and neither the Seller nor the Supplier shall be liable for
demurrage detention or any other or different damages due to
any delay caused by Weather (whether usual or unusua|), or for any
loss due to congestion at the terminal or to prior commitments of
available barges or when security is compromised according to
the Supplier‘s judgment

4.2 in case of failure to arrive at the contracted day, the Seller shall
endeavor to reschedule the Buyer’s vesse|, but shall not be liable
for any attendance delays nor for any damages resulting
fherefrom. in the specific case of rescheduling vessels delayed by
Weather conditions berth congestion, draft restrictionsl etc. for
lifting bunkers, the Seller will use the "first in, first out" rule.

4.3 The Seller reserves the right to cancel any nomination Without liability
on the part of the Seller and without prejudice to any rights the
Seller might have against the Buyer if the vessel does not arrive at
delivery port or anchorage for bunker delivery within the delivery
range agreed between both parties in written confirmation

 

 

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Van Oi|

General Terms and Conditions

5. Delivery Costs and Other Delivery issues

5.i Delivery shall be made during normal working hours unless required
at other times {including nonworking days) and permitted by Port
regulations in which event the Buyer shall reimburse the Seller or its
Supplier for all additional expenses incurred in connection
therewith, including but not limited to overtimes and extra fees.

5.2 All delivery extra charges, including but not limited to truck/barge
overtime and wharfage extra costs, shall be for the account ot the
Buyer

5.3 ln case that the Buyer fails to take the whole quantity nominated,
the Buyer shall be liable tor any cost resulting from such tailure.

5.4 lt a Government permit is required for deliveries hereunder, no
deliveries shall be made until the permits have been issued to the
Buyer.

5.5 Once the delivery has been made, the Master/Chiet
Engineer/Representative of the supplied vessel shall sign and seal
the relevant Delivery Document. ln case of any quantity claim in
such delivery, the Master/Chiet Engineer/Representative of the
supplied vessel shall note such quantity claim on the Delivery
Document. The absence of a notation of a quantity claim shall be
deemed to signify full agreement with the delivered auantity.
Accordingly, quantity claims related to deliveries for which there
are dean Delivery Documents will not be accepted

 

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General Terms and Conditions

6. Connections

6.i The Buyer shall make all connections and disconnections between
delivery hose and the vesse|’s intake pipe for bulk deliveriest unless
otherwise agreed.

6.2 The Buyer shall render all other necessary assistance and provide
sufficient tankage and equipment to receive promptly all deliveries
hereunder.

6.3 The Buyer shall provide a clean, free and safe access alongside the
receiving vessel to operate the Seller’s delivery equipment and
shall render all necessary assistance which may reasonably be
reauired.

 

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General Terms and Conditions

Quantity

Unless otherwise agreed, the quantities of the Marine Fuels loaded
shall be determined from the official gauge at the delivery barge,
or at the delivery truck, or at any other delivery mean, or at
Supplier’s shore tank, or at oil meter at the Seller’s choice,' from
which the delivery was made and carried out in accordance with
good standard practice in use at the supply area/port at the time
of delivery.

The Delivery Document issued at the supply area/port shall be final
and binding for the purposes of the quantity stated and the
obligation of the Buyer to make payment in accordance with the
Agreement.

Nothing in this clause shall prejudice the right of either party to
challenge the accuracy of the measurement taken and recorded
in the Delivery Document. Furthermore, the Buyer has the right to
have, at its own expense, its representative or independent
inspector present during measurement but only the Seller shall
make quantity determination, and such a determination sha|i be
conclusive. ln any event, the Buyer shall sign for the measurement
made; and if the Buyer is not present or represented by properly
accredited agent when measurements are taken, then the
Supplier’s determination of quantities shall be deemed to be
correct.

ln order for the Buyer to be represented as mentioned in clause 7.3,
the Buyer shall request the Seller’s permission in Writing at least 48
hours before the determination of quantity takes place.

 

 

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General Terms and Conditions

Quality

The Marine Fuels to be supplied shall be of the quality, description
or specification as set out in the Seller‘s written confirmation The
quality of the Marine Fuels shall be determined at the delivery
port/area in accordance with the latest ASTM standards and AP|
Manual of Petroleum Measurement Standards (MPMS} or
according to good standard practice in use at the loading port at
the time of shipment

The certificate of quality (or other equivalent document) issued at
the loading port shall, except in Cases of manifest error or fraud, be
conclusive and binding on both parties

Unless otherwise agreed, the quality of the Marine Fuels shall be
stated from a composite sample taken at the loading port in
accordance with clause 9.

The Buyer shall have the sole responsibility for any determination Of
compatibility of Marine Fuels purchased from the Seller with fuels
already on board the vessel.

There are no guarantees or warranties express or implied of
merchantability fitness or suitability of the Marine Fuel for any
particular purpose or otherwise, which extend beyond this
subsection

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General Terms and Conditlons

9. Qua|ify $amples

9.1 The quality of the Marine Fuels shall be tested from a composite
sample taken by the Seller or the Seller's representative at the
source of supply (supplying barge, supplying truck or supplying
terminal), in accordance with good standard practice at the
supply area at the time of delivery. The sample will be retained in
three sealed numbered/identified containers (name of the vessel,
delivering facility, product grade, delivery date, place of delivery,
and.duly signed by both parties’ representatives):

~ Container A: "the official witness sample" to be kept at the
supply source.

¢ Container B: “the Seller's sample" to be kept at the supply
source.

¢ Container C: "the Buyer’s sample" to be placed on board of
the receiving vessel.

9.2 Any samples drawn from receiving vessel's tank/manifold shall not be
valid as an indicator of the quality supplied.

9.3 |n the event delivery is done by tank truck, no samples will be taken,
unless requested by the Buyer in writing.

 

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Van Oil
General Terms and Conditions
Quaiity Claims
Seller shall have no liability for any quality claims unless:

a. a fully documented claim is presented to the Seller within l5
days of the date on which the delivery of the Marine Fuel has
been completed and

b. such documentation includes a report of analysis carried out by
the inspection company on the sample kept in Container C,
showing that the quality of the sample in Container C is in
discordance with the agreed quality differing by a greater
amount than the reproducibility and repeatabi|ity as per
applicable standards

in the event that the report of analysis referred to at (b) above is
not accepted loy the Seller, the sample sealed in Container A shall
be referred for new analysis to a mutually acceptable independent
laboratory of international reputation. Each party has the right to
appoint a representative for witnessing the new analysis.

The results of the new analysis shall be conclusive and binding for
both parties and will determine each party's liabilities in this matter.

|n case that the results prove the product to be on specification
the cost of such analysis shall be borne by the Buyer. ln case that
the results prove the product to be off specification, the cost of
such analysis shall be borne by the Seller.

li the Buyer fails to comply with the procedure in this clause, all
claims regarding quality shall be deemed to have been waived by
the Buyer and no claim may be brought in respect of them.

Nothing in this Section lO shall relieve the Buyer of its obligation to
make payments in full when due as provided herein.

 

 

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General Terms and Conditions

Nominations and ETA

The Buyer shall advise the Seller, during business hours, of the
vessel‘s nomination at least three {3] days prior to expected
delivery date, unless otherwise agreed in writing.

Nomination(s) shall be given in writing and shall at least include the
following:

a. the name of the vessel and such other information as may be
required by the loading terminal operator from time to time;

bunkering port/ area;

delivery conditions;

the grades and quantities of Marine Fuels to be delivered;
the prices and payment terms;

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the time frame when the vessel is expected to be ready for
bunker supply (rna>< span: 48hs.);

g. the ship agent at the bunkering port/ area;
h`. the Buyer’s full style and invoicing address;
i. such other information as the Seller may reasonably require.

The Buyer hereby declares that it is familiar with atl timitations of the
loading port or area and shall not nominate a vessel exceeding
such limitations and that in operational and technical aspects
nominated vessels shall be in fuli compliance with all applicable
international conventions as well as the domestic laws, regulations
and other requirements of the country of the vessel’s registry and
countries, port authorities and terminals at which vessel may be
loading or calling.

The Buyer shall have no right to substitute the nominated vessel.

The Buyer shall arrange for the vessel/ vessel’s agent to give to the
Seller or the Seller's Suppliers its ETA at the loading port by telex,
cable or e-mail at least 48 hours before arrival, thereafter advising
any variation. Such notice to include specifically the place where
and the time When delivery is required. Location changes, if any,
subject to the Seller’s consent.

 

 

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General Terms and Condilions

Price and Other Charges

The applicable Price of any product supplied shall be the one
agreed in the Specia| Provisions; and shall remain in force during
the agreed time frame. |n the absence of the mentioned time
frame, the initial period agreed for delivery of the products shall be
deemed to be the agreed time frame.

The Seller reserves the right to modify the Price if the vessel arrives
48 hours after expiration of the agreed time frame.

The Buyer shall be liable for all costs, expenses and/ or charges
incurred by the Seller or Supplier on account of the Buyer's failure,
breach and/or noncompliance with its obligations under any
agreed Nornination.

All applicable taxes, duties, fees and other costs including, without
limitation, those imposed by government and authorities and
barging and other detivery charges, shall be for the Buyer's
account and shall be included in the Seller's invoice to the Buyer.

 

 

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General Terms and Conditions

Payment

Unless otherwise agreed, payment shall be made against
presentation of the invoice (telex invoice being acceptable) before
or on the due date.

Payment shall be made in fuil by the Buyer on the payment due
date without discount or deduction for whatever reason including
bank transfer fees, withholding set-off or counterclaim of any kind
whatsoever, or any dispute between the parties to the Agreement.

Payment shall be made in U.S. dollars or any other convertible
currency agreed in the Seller’s written confirmation (at the Seller’s
option) by telegraphic transfer.

in the event that the due date for payment falls on a Saturday or a
nonbanking day other than Monday, payment will be made on the
previous banking day and in the event that the due date for
payment falls on a Sunday or a nonbanking Monday, payment Wil|
be made on the following banking day (the bank holidays and
banking days will be those applicable to the banking system of the
currency in which the payment is to be effected).

in case that an irrevocable documentary letter of credit or stand-by
letter of credit is issued:

13.5.1 all charges in respect of the letter of credit shall be for the
account of the Buyer.

13.5.2 if the Buyer does not provide or provides an unacceptable
letter of credit or stand-by letter of credit on or before close
of normal banking business on the fifth working day prior to
the first day of the agreed delivery date, the Seller may
terminate the Agreement immediately without prejudice to
any rights or remedies of the Seller.

13.5.3 in no event shall the Seller be obliged to commence or
complete loading until the said letter of credit or stand-by
letter of credit is opened at the Seller’s satisfaction

13.5.4 Any delay, costs and damages whatsoever arising from the
failure of the Buyer to open the letter of credit or stand-by
letter of credit as provided for in the Agreement shall be for
the Buyer's account.

 

 

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Van Oii

General Terms and Conditions

Un|ess otherwise agreed, the Seller’s invoice shall be prepared
based on the quantities stated in the Delivery Document.

Payment(s) shall be made to the Seller’s bank, account name and
account number as notified by the Seller to the Buyer in writing (“the
payment account").

Without limitation to any of the Seller’s legal rights, it the Buyer fails to
pay in full any invoiced amount on the due date, the Seller shall
have the right to require the payment by the Buyer of interest on any
unpaid amount from the due date (shown in the final invoice) until
the Seller receives cleared funds in the full amount outstanding into
the Seller’s payment account:

a. at the one month U.S. dollars lnterbank offered rate (LlBOR)
offered to Bank of America at i i.OO hours New York time on the
due date (which is shown on the invoice) plus 4 per cenf;

b. at the one month EURIBOR (EURlBORiMD) offered at ll:OO a.m,
(CET) on the due date (which is shown on the invoice), plus 4
per cent: Whichever is applicable

The provisions of this section shall not be construed as an indication
of any willingness on the part of the Seller to provide extended
credit, and shall be without prejudice to any rights and remedies the
Seller may have under the Agreement or otherwise

 

 

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General `l'erms and Condilions

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14. Canceliation and Breach

if at any time the Buyer cancels a request for Marine Fuels or the vessel
fails to take delivery of part or all of the requested Marine Fuels, the
Buyer and the vessel to which Marine Fuel has been delivered are liable
to the Seller for all damages costs, and losses, including but not limited
to lost profits, demurrage and incidental vessel charges thereby
incurred. The Seller may treat any breach by the Buyer of any express
term of the Agreement as a breach of a condition in such case. the
Seller may at its sole discretion accept the breach, treat the Agreement
as repudiated, and/or seek such legal and contractual remedies as it
considers appropriatel

 

 

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General Terms and Conditions

15. Liens

Where Marine Fuels are supplied to a vessel, in addition to any other
security, the Agreement is entered into and Marine Fuels are supplied
upon the faith and credit of the Vessel. lt is agreed and acknowledged
that a lien over the Vessel is thereby created for the price of the Marine
Fuels supplied and that the Seller, in agreeing to deliver Marine Fuels to
the Vessel, does so relying upon the faith and credit of the Vessel. The
Buyer if not the owner of the Vessel hereby expressly warrants that he has
the authority of the owner to pledge the Vessel’s credit as aforesaid and
that he has given notice of the provisions of this clause to the owner. The
Seller shall not be bound by any attempt by any person to restrict, limit or
prohibit its lien or liens attaching to a Vessel unless notice in writing of the
same is given to the Seller before he sends its written confirmation to the
Buyer.

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General Terms and Conditions

Assignment

Neither party shall assign all or part of its rights and obligations
under the Agreement without the Written consent of the other party
save that the Seller shall be tree to assign its rights and obligations
under the Agreement to any of its associated companies or
Affrliates.

lf such written consent is given the assignee of the Buyer shall fully
comply with the terms of payment contained in clause 13 herein or
any other payment provision substituted for clause 13 With the
consent of the Seller.

The assigning party shall nevertheless remain jointly and severally
liable with the assignee for the proper performance of all its
obligations under the Agreement, including all payment
obligations

Any assignment not made in accordance with the terms of this
clause 16 shall be void.

 

 

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General Terms and Conditions

17. Taxes, Dut,ies and lmposts

All taxes, duties and all other charges on the vessel shall be the
responsibility of the Buyer, save as provided for elsewhere in the
Agreement. The Buyer shall also be responsible for the payment of any
taxes, duties, imposts, and fees of any description on the Marine Fuels
after the Marine Fuels pass the flange connection ot the loading
vessel’s delivery hose at the bunkering port/area.

 

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General Terms and Conditions

Termination

if either party should become insolventl go into liquidation (other
than voluntary liquidation for the purpose of corporate
reconstruction), or become the debtor in bankruptcy proceedingsl
or if a receiver or sequestrator is appointed in respect of the assets
and/or undertaking (or any part thereot) ot either party, or should
do or suffer any equivalent act or thing, or if either party has good
reason to anticipate any such act or thing, the other party may, by
written notice, immediately terminate the Agreement or
immediately suspend delivery under the Agreement until further
notice without prejudice to any right of action or claim accrued at
the date of termination or suspension

lt the Seller has any reason whatsoever to doubt the continuing
ability of the Buyer to perform its obligations hereunder, the Seller
may suspend deliveries until the Buyer has either agreed to make
payment in advance for future deliveries or has provided such
other security as the Seller, in its absolute discretion may require or.
alternative|y, the Seller may terminate the Agreement by written
notice without prejudice to any right of action or claim accrued to
the benefit of the Seller at the date of termination

if the Buyer should fail to pay in whole or in part the invoiced
amount on the due date, the Selier may, on written notice to the
Buyer, immediately suspend all or any supplies ot Marine Fuels until
the Buyer has paid all of the amount owing, or may, at the Seller’s
option, on Written notice to the Buyer immediately terminate the
Agreement Without prejudice to any right of action or claim
accrued at the date of termination

lf the Buyer should tail to take delivery of the Marine Fuels at the
date specified under the Agreement (events of force majeure
excepted), where a minimum quantity of tvlarine Fuels is to be
taken by the Buyer within specified periods, the Seller may, on
written notice to the Buyer, suspend all or any supplies of Marine
Fuels until the Buyer has paid all of the amount owing, or may, at
the Seller’s option on written notice to the Buyer immediately
terminate the Agreement without prejudice to any right of action
or claim accrued at the date of termination

 

 

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General Terms and Conditions

18.5 According fo clause 13.5.2, the Seller may terminate the

18.6

Agreement if the Buyer does not provide or provides an
unacceptable letter of credit or stand-by letter of credit on time.

Written notice of termination provided for under this clause i8 shall
be effective at the time it is dispatched to the Buyer, in
accordance with clause 25.

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General Terms and Condifions

Force Majeure

No failure or delay by either party to the Agreement in fulfilling any
of the obligations contained in the Agreement shall give rise to any
claim by one party against the other, except in relation to
obligations to make payments under the Agreement, if such failure
or delay arises out of force majeure, which for the purposes of the
Agreement shall be any occurrence or circumstance reasonably
beyond the control of that party, Examples of force majeure are,
but are not limited to: acts of God, war, whether declared or
undeclared, civil disorder, riot, strike, lockout, sabotage, embargo,
storm, earthquake, perils of the sea, accident of navigation, fire,
break-down or interruption of the functioning of installations
production plant or machinery or Other facilities`at the Seller or Of
the means of transportation of the Marine Fue|s, non availability Of
feedstock, stoppage or restraint to labor in or about the plant of
the Seller or its Supplier, governmental |aws, regulations or directions
or acts of any officer, department agency, committee or similar
bodies For the purposes of this clause 19, the terms "Seller" and
"party" where applied to the Seller shall include the Seller’s
relevant Suppliers and Affi|iates and subsidiaries The Seller shall not
be required to make up deliveries omitted on account of the
occurrence of incidents at force majeure. Notwithstanding this
clause i9, the Buyer shall not be relieved of any obligation to make
payment for all amounts due on Marine Fuels sold to the Buyer
under the Agreement. Each party shall promptly notify the other
upon occurrence of any occurrences or circumstances excusing or
likely to excuse that party’s nonperformance or delay under this
clause i9.

lt by any reason or cause reasonably beyond the control of the
Seller,v including but not limited to the reasons set out in clause i9.l,
in the Seiler's reasonable opinion there is a curtailment or shortage
or interference ot the Seller’s sources or anticipated sources of
supply, or transportation of any grade of Marine Fuels from
whatever country such that the Seller is unable to meet its own
planned requirementsl or anticipates that it will be unable to meet
its own planned requirements and those of its associated
companies and Afti|iafes and its requirements for sales to

 

 

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Van Oil

General Terms and Condifions

customers, including the Buyerl the Seller may allocate on a fair

and reasonable basis according to its own discretion, its available

supply of the grades of Marine Fuels among its own requirementsl

those of its subsidiaries and affiliated companies and its

requirements for sales fo customers including the Buyer. ln no j
circumstances shall the Seller be required to increase its Suppliers of "
Marine Fuels under the Agreement by purchases or otherwise of

Marine Fuels from other Suppliers.

 

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General Terms and Condltlons

Liabi|ity and indemnify

The Seller shall not be liable in contract or in tort or otherwise for any
special, consequential or indirect loss or damage of any kind arising
out of or in any way connected with the performance or failure to
perform any part or parts of the Agreement including but not
limited to the negligent act or omission on the part ot the Seller or its
Aftiliates and/or agents and/or servants of the Seller or its Affi|iates,
nor shall the Seller be liable for any prospective or speculative
profits.

No claim by the Buyer in respect of the quality of Marine Fuels
delivered, quantity of Marine Fuels.delivered, or any other reason,
may exceed the Agreement price except as provided for in clause
20.3 below. The Agreement price shali be the price that should
have been applied according to the Agreement terms if a Delivery
Document had been issued on the agreed delivery range.

Where the loading port is not operated by the Seller or an
associated company of the Seller, any claims in respect of shortage
of quantity or variation of quality of the Marine Fuels shall be
recoverable only in accordance with the usual terms applicable for
the purchase of Marine Fuels at the loading port and the Buyer shall
not be entitled to recover any costs, losses or damages incurred
arising out of any shortage in quantity or variation of quality of the
Marine Fuels from the Seller unless the Seller is able to recover and
does recover such shortage or compensation or variation of quality
from its Supplier or other relevant third party, and then only to the
extent of such recovery. The Seller shall use all reasonable efforts to
recover from its Supplier or other relevant third party any such costs,
losses or damages for which the Buyer has submitted a claim in
accordance with the provisions of this clause.

The provisions of this clause 20 shall continue to apply
notwithstanding the termination or expiry of the Agreement for any
reason whatsoever.

The Buyer shall hold harmless and indemnify the Seller and/or its
Supplier against all damages, costs and liabilities arising from or in
consequence of any acts or omissions of the Buyer or its servanfs,
the vessel’s officers or crew; or occurring during or in connection
with the delivery of Marine Fuels under the Agreement.

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General Terms and Condifions

21. Arbifrafion

This Agreement shall be governed by and construed in accordance with
Titie 9 of the United States Code and the Marifime Law of the United
States and any dispute arising out of or in connection with this Agreement
shali be referred to three persons at New York, one to be appointed by
each of the parties hereto, and the third by the two so chosen; their
decision or that of any two of them shall be tina|, and for the purposes of
enforcing any award, judgment may be entered on an award by any
court of competent jurisdiction The proceedings shall be conducted in
accordance with the rules of the Society of Maritime Arbitrators, lnc. ln
cases where neither the ctaim nor any counterclaim exceeds the sum of
US$iO0,000 (or such other sum as the parties may agree) the arbitration
shall be conducted in accordance with the Shortened Arbitration
Procedure of the Society of Maritime Arbitrators, |nc. current at the time
when the arbitration proceedings are commenced

Either party may call for arbitration by service of written notice specifying
the name and address of the arbitrator appointed and a brief description
of the dispute (s) or difference(s) to be the subject of the Arbitration. |f the
other party does not within 20 days serve notice of appointment of an
arbitrator to arbitrate the dispute(s) or difference (sj, then the first moving
party shall have the right without further notice to appoint a second
arbitrator, who shall have precisely the same force and effect as if a
second arbitrator had been appointed by the other party, in the event
that the two appointed arbitrators fail to appoint a third arbitrator within
twenty days of the appointment of the second arbitrator, either party
may apply to the any court for the appointment of a third arbitrator, and
the appointment of a third arbitrator will have precisely the same force
and effect as if the third arbitrator had been appointed by the two
appointed arbitrators

The place of Arbitration shall be New York Cify. The language of the
Arbitration shall be Eng|ish.

Although the parties shall settle any dispute relating to this agreement by
arbitration as described above, Seller expressly reserves its right to
exercise any rights of restraint or seizure of whatever type or appellation
of property, vessels, or any other assets as prejudgment security or in
connection with execution on an award or judgment which Seller may
have under any body of |aw.

 

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General Terms and Condifions

 

22. Applicable Law

 

22.i The laws of United States of America shall govern the construction
validity and performance of the Agreement and the rights of the
parties thereto to the exclusion of any other law which may be
imputed in accordance with choice ot law rules appiicaloie in any
jurisdiction

22.2 The United Nations Convention on Contracts for the international
Sa|e of Goods of Vienna dated iith of April i980, shall not apply to
the Agreement.

22.3 Each party to the Agreement warrants that if has entered the
Agreement in its commercial capacify. Each party hereby
irrevocably and unconditionally waives any rights of sovereign
immunity (whether related to service of process, prejudgment
attachment arrest, or seizure of any kind, or attachment in aid of
executionj which it may have or which it may subsequently acquire
in respect ot its status or any of its assets.

 

 

 

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General Terms and Conditions

Claims Other than Those Reiating to Quantity or
Qua|ity

For all claims other than those relating to quantity or quality which
are governed by specific provisions ot this Agreement. Seller shall
have no liability unless a fully documented claim is presented to the
Selier within 15 days of the date on which the delivery of the Marine
Fuei has been completed

it is the duty ot the Buyer to take all reasonable actions, including
retention and burning of Marine Fuei in accordance with the
Seller's instructions to eliminate or minimize any costs associated
with an off-specification or suspected ott-specification supply. The
Seller’s obligation hereunder shall not exceed direct expenses
incurred for removal and replacement ot the Marine Fuei and shall
not include any consequential or indirect damages including
without limitation, demurrage and any actual or prospective loss ot
protits. it the Buyer removes such Marine Fuei without the consent
of the Seller, then ali such removal and related costs shall be tor the
Buyer's account.

`l'he Seller shall not be liable for any claim arising in circumstances
where there is or has been commingling ot Marine Fuei delivered
by the Seller with other tuei aboard the Vessel or the Buyer's
delivery vesse|.

 

 

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General '_ierms and Conditions

24. Time Limitation

in addition to the specific provisions and time limits established in the
Agreement for specific types of ciaims, a party to this Agreement
seeking to raise any disputes or differences Whatsoever in any way
connected with or arising out of or in relation to the subject matter of the
Agreement shall be commenced in accordance with the arbitration
provisions ot clause 2i within either one year ot the date of the
Agreement or one year ot the date ot the event giving rise to the cause
of action, failing which such dispute or difference shall be deemed to
have been waived and shall be time barred and no claim whatsoever
may be brought in respect thereof.

 

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General Terms and Conditions

25. Notices

All notices and other communications given under the Agreement shall
be in writing and unless otherwise specified in the Agreement shall be
deemed to have been given and delivered when dispatchedf provided
the notice is dispatched within business hours, by cable or facsimile to the
Seller at its address at:

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244 Fiffh Avenue, Suite 2410
New York, N¥ 10001

USA

Te|ephone: (212) 561 9136
Fax: (80.1) 454 7924

and to the Buyer at its address specified in the Agreement or invoice.

Any change of address, telephone telex or tax details must be notified to
the other party in writing, at least 14 working days prior to the change
taking effect

 

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General Terms and Condiflons

Righfs, Powers and Remedies

No failure or delay on the part of the Seller or the Buyer in exercising
any right, power or remedy under the Agreement and no course of
dealing between the Seller and the Buyer shall operate as a waiver
by the Seller or the Buyer of any such right, power or remedy, nor
shall any single or partial exercise of any such righf, power or
remedy preclude any other or further exercise thereof or the
exercise of any other right, power or remedy under the Agreement.

The remedies in the Agreement provided to the Seller or the Buyer
are cumulative and not exclusive of any legal rights or remedies
Which the Seller may otherwise have.

Excepf as required by the Agreement, no notice or demand upon
the Seller or the Buyer in any case shall entitle the Seller or the Buyer
to any other or future notice or demand in similar or other
circumstances or constitute a waiver of the right of the Seller or the
Buyer to take any other or future action in any such circumstances
without notice or demand

 

 

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General Terms and Condltions

Amendments and waivers

Any amendment or waiver of any provision of the Agreement shall
not be effective unless it is made by the express written agreement
of both parties.

Any waiver of any breach ot any provision of the Agreement by
either party shall not be considered to be a Waiver of any
subsequent or continuing breach of that provision unless expressly
agreed otherwise by the parties in writing.

No waiver by either party of any breach of any provision of the
Agreement shall release, discharge or prejudice the right ot the
waiving party fo require strict performance by the other party of
any other of the provisions of the Agreement.

Failure by either party to tal<e action against the other party in case
of any breach of any provision of the Agreement shall not be
considered to be a waiver by either party of their right to take
action for any subsequent breach of that or any other provision of
the Agreement.

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General Terms and Conditions

28. Severa bi|ity

The invalidity, illegality or unenforceability of any one or more of the
provisions at the Agreement shall in no way affect or impair the validity
and enforceability of the other provisions of the Agreement.

 

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General Terms and Condifions

29. Headings

All clauses, articles and section headings used in the Agreement are for
convenience only and shall not affect the construction or interpretation
of any of the terms and/or conditions ot the Agreement.

 

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General Terms and Conditions

30. Te|ephone Recording

The Buyer acknowledges and consents that the Seller rnciy electronically
record telephone conversations between the Seller and the Buyer or any
of the Buyer's agents, officials or servants ln case of disagreements
misunderstandings or any other problem, the electronic record may be
used for the purposes of resolving such matters.

 

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General Terms and Condifions

31. Conflicf

in the event that there is a conflict or inconsistency between the Special
Provisions and the General Terms and Conditions contained in the
Agreement the Special Provisions shall prevail over the General Terms
and Conditions of the Agreement.

 

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Van Oil

General Terms and Conditions

Change in Regulafions

lt is understood by the parties that the Seller is entering into the
Agreement in reliance on the conventions, iaws, rules, regulations
decrees, agreements concessions and arrangements
{"regulations") in effect on the date of the Agreement with
governments government instrumentalities or public authorities
affecting directly or indirectly the Marine Fuels sold under the
Agreement inciuding, but without limitation to the generality of the
toregoing, those relating to the production, acquisition, gathering,
manufacturing transportation storage, trading or delivery of the
Marine Fuels, insofar as such regulations affect the Seller or the
Seller’s Supplier(s}.

if at any time and from time to time during the currency of the
Agreement any regulations are changed or new regulations have
become or are due to become effective whether by |aw, decree
or regulation or by response to the insistence or request of any
governmental or public authority or any person purporting to act
for such organizations and the material effect ot such changed or
new regulations is

a. not covered by any other provision of the Agreement; and

b. has or will have a material adverse economic effect on the
Seller,

the Seller shall have the option to request renegotiation of the
price(s) or other relevant terms of the Agreement. Such option may
be exercised by the Seller at any time after such changed or new
regulations are notified by written notice to the Buyer, such notice
shall contain the new price(s) and/or terms and conditions desired
by the Seller. lt the parties do not agree upon the new price(s] or
terms and conditions within 15 days after the date of the Seller’s
notice, either party shall have the right to terminate the Agreement
immediately at the end of such 15 clay period. Any Marine Fuels
delivered during such 15 day period shall be sold and purchased at
the price(s) and on the terms and conditions specified under the
Agreement without any adjustment in respect of the new or
changed regulations

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Van Oil
General Terms and Condlfions
Health, $afety and Environment

The Buyer shall provide all relevant third parties, including but not
limited to, its employees tanks, ship crew, and contractors with a
material safety data sheet and any other relevant information
relating to the danger to health and environment of the Marine
Fuels, The Buyer shall be responsible for ensuring that all relevant
obligationsJ recommendations international regulations directives,
conventions, or guidelines are complied with.

The Buyer shall not be entitled to an indemnity from the Seller for
any |iability, claim or proceeding whatsoever for loss, damage or
personal injury resulting from any hazards inherent in the nature of
the Marine Fuels delivered under the Agreement.

lf an escape, spillage or discharge of Marine Fuels (hereinatter
referred to as “spill") occurs while the delivery is being made, the
Buyer will promptly take such action as is reasonably necessary fo
remove the Marine Fuels and mitigate the effects of such spill,
However, whatever may have been the cause of such a spill, the
Seller (Which for the purposes of this clause includes its Suppliers) is
hereby authorized, at its option, upon notice to the Buyer or the
Buyer's operator of, or agent for, the receiving vessel. to take such
measures, either itself or in cooperation with the Buyer and incur
such expenses (whether by employing its own resources or by
contracting with others) as it considers reasonably necessary fo
remove the Marine Fuels and mitigate the effects of such spill.

lf the Seller has exercised its option to remove the Marine Fuels to
mitigate the effects of such spill (mentioned in 33.3), the Buyer
agrees to cooperate and render such assistance as is required by
the Seller in the course of such action, and to bear the costs and
expenses thereof (including those ot the Seller or its Suppliers)
except to the extent that the negligence of the Seller or its Suppliers
can be shown to have caused the spi||.

The Buyer also agrees to indemnify the Seller against all claims for
collision damage or other damages, costs, fines and penalties
arising from any such spills mentioned in this clause 33 except to the
extent that the negligence of the Seller contributed thereto.

 

 

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General terms and Condltions

lf both parties have acted negligently, any expenses,
disbursements and/or costs in respect of actions to remove the
effects of such spills mentioned in this clause 33 shall be divided
between the parties in accordance with the respective degree of
negligence and culpability.

The Buyer also agrees to give or cause to be given to the Seller, all
such documents and other information concerning any spill, or any
program for the prevention thereof, which are requested by the
Seiler, or required by any international convention or standard or
any domestic law or regulation applicable at the time and place
at which the Seller delivers products under this Agreement.

 

 

 

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Van Oil

General Terms and Conditions

 

34. Third Party Rights

No term of the Agreement shall be enforceable by any person, company
or other legal entity which is not a party to the Agreement against one of
the parties to the Agreement. The parties may rescind or vary the
Agreement in whole or in part, subject to the provisions of clause i6,
without the consent of any third party.

 

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STATEMENT OF CLAIM OF
VAN-OIL PETROLEUM LTD.
-against-
BUNKERS INTERNATIONAL CORP.
Principal amount USD 47,442.52
Interest at 4.19075% per annum from 05.08.20]5t1`]] 11.12.20]5: USD 701.38

Legal fees of V&P Law Firm: USD 2,200
Legal fees of Chalos & Co.: USD 1,000

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Total amount claimed by the Proof of Claim Form: USD 51,343.90

